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      LEADENHALL CAPITAL PARTNERS LLP, LEADENHALL LIFE
          INSURANCE LINKED INVESTMENTS FUND PLC,

                                                               Plainly s-Appellees,

     ING CAPITAL LLC, HAYMARKET INSURANCE COMPANY, ACM
             DELEGATE LLC, NATIONAL FOUNDERS LP,

                                                                       Interveners,

               (For Continuation of Caption See Inside Cover)

         ON APPEAL FROM THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF NEW YORK


          BRIEF AND SPECIAL APPENDIX FOR
     DEFENDANTS-APPELLANTS ADVANTAGE CAPITAL
          HOLDINGS LLC AND KENNETH KING

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84
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                                v.

     ADVANTAGE CAPITAL HOLDINGS LLC, KENNETH KING,
     777 PARTNERS LLC, 600 PARTNERS LLC, SPIESS III LLC,
     SIGNAL SML 4 LLC, INSURETY AGENCY SERVICES LLC,
             DORCHESTER RECEIVABLES II LLC,

                                                Defendants-Appellants,

JOSH WANDER, STEVEN PASKO, SUTTONPARK CAPITAL LLC, SIGNAL
      MEDICAL RECEIVABLES LLC, INSURETY CAPITAL LLP,
     SUTTONPARK SERVICING LLC, SIGNAL SERVICING LLC,
                 INSURETY SERVICING LLC,

                                                          Defendants.
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            CORPORATE DISCLOSURE STATEMENT
           Pursuant to Federal Rule of Appellate Procedure 26.1, the
undersigned counsel for Defendants-Appellants certifies that the
following are corporate parents and/or publicly held corporations owning

10% or more of the stock of any Defendant-Appellant: None.
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                            INTRODUCTION
           This appeal challenges a preliminary injunction that defies
the Supreme Court's clear command in Grupo Mexican de Desarrollo,

S'.A. U. Alliance Bond Fund, Inc., 527 U.S. 308 (1999): before judgment,

federal courts cannot freeze assets in which plaintiff has no lien or
equitable interest. The district court correctly found that Leadenhall had

no lien on Guarantors' assets, and it identified no "equitable interest" in

those assets. Even so, it restrained Guarantors' assets pending judgment
on Appellees' contract claims for money damages-precisely what Grupo

Mexican forbids.

           The dispute arises from loans that Plaintiffs-Appellees
(together, "Leadenhall") made to four special purpose entities

("Borrowers") .   The loans are secured by the collateral pledged by
Borrowers, which comprises all Borrowers' assets and equity. Borrowers'

repayment obligations are also contractually guaranteed by their
ultimate parents, 777 Partners LLC and 600 Partners LLC (together,
"Guarantors") .   That guaranty, however, is unsecured-Guarantors




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pledged no assets as security.1 Borrowers allegedly defaulted on their
loans, and Leadenhall exercised alleged contractual rights to accelerate

and demand immediate repayment of Borrowers' entire debt.
            Rather than foreclose on the collateral securing the loans
(Bolrlrowers' assets and equity), Leadenhall elected to seek to reduce its

interests to a money judgment-it seeks to recover $609.5 million of
Accelerated Debt through contract damages. To up its odds of collecting,

Leadenhall sought and obtained a preliminary injunction freezing
Borrowers' and Guarantors' assets "up to the full amount of the
Accelerated Debt." (A.l7l.) The district court justified this sweeping
prejudgment asset freeze on two grounds. Neither withstands scrutiny.

           First, the district court reasoned that Grupo Mexican is

inapplicable because "Leadenhall has a secured first-priority security
interest in the collateral the borrowers pledged," (A.8l9, 55:7-9
(emphasis added); see also A.l342, 48:11-13). But a security interest in

one obligor's assets is no basis to freeze different assets of another obligor.



1 Defendant-Appellant Advantage Capital Holdings LLC ("A-CAP") is a
lender to Leadenhall's Guarantors. Unlike Leadenhall, A-CAP holds,
through affiliates, a perfected, first-priority security interest in
substantially all of Guarantors' now-frozen assets.
                                       _Q_
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No matter whether Leadenhall is otherwise "secured," Grupo Mexican

forbids freezing "assets in which" Leadenhall has "no lien or equitable

interest." 527 U.S. at 310, 333.

           Second, the district court held that Leadenhall's nominally

equitable prayers for relief empowered it to freeze Guarantors' assets.

But the Supreme Court foreclosed that tactic in Great-West Life &
Annuity Ins. Co. U. Knudson,534 U.S. 204, 210-12 (2002). The "lawyerly

inventiveness" of praying to enjoin breaches of contract and declare
contract rights cannot transform a contractual interest into an equitable

one. Id. at 211 n.l. Nor may assets be frozen to aid collection of contract

damages. The Supreme Court is emphatic on the point: "No relief of this

character has been thought justified in the long history of equity
jurisprudence." Grupo Mexican, 527 U.S. at 327 (quoting De Beers

Consol. Mines U. United States, 325 U.S. 212, 222-23 (1945))

           Because Leadenhall has no lien or equitable interest in
Guarantors' assets, the portion of the preliminary injunction restraining

those assets should be vacated.




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                                JURISDICTION
              The district court has jurisdiction under 28 U.S.C. § 1331
because the case arises under the RICO Act, 18 U.S.C. § 1964. The
district court has supplemental jurisdiction over Appellees' state-law
claims-including the contract claims at issue-under 28 U.S.C. § 1367.2
              This Court has jurisdiction under 28 U.S.C. § l292(a)(l)
because the district court entered interlocutory orders granting a
preliminary injunction and refusing to modify that preliminary
injunction.
              This appeal is timely because the district court entered the
preliminary injunction on July 8, 2024; A-CAP timely moved to modify

that order July 31; the district court denied that motion on October 2; A-

CAP filed its Notice of Appeal the next day; and the 777 Appe11ants3 filed

their Notice of Appeal on October 22. See Fed. R. App. P. 4(a)(l)(A),

4(a)(4)(A)(iv)-




2 Defendants have moved to dismiss Leadenhall's RICO claims, and the
parties dispute complete diversity.
3 The 777 Appellants are 777 Partners LLC, 600 Partners LLC, SPLCSS

III LLC, Dorchester Receivables II LLC, Insurety Agency Services LLC,
and Signal SML 4 LLC.
                                         _4_
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                    STATEMENT OF THE ISSUES
           In Grupo Mexican, the Supreme Court held that district
courts have no authority to freeze, pending adjudication of contract
claims for damages, assets in which plaintiff has no lien or equitable
interest. 527 U.S. at 310, 333.

           This Court held, in Gucci America, Inc. U. Weixing Li, that
district courts have the power freeze assets prejudgment only when (a)

the plaintiff is pursuing a claim for final equitable relief and (b) the
preliminary injunction is ancillary to that final relief. 768 F.3d 122, 131

<2d Cir. 2014).

           The questions presented are:
           l.     Whether a security interest in the assets of one obligor

(here, Borrowers) empowers courts to restrain, prejudgment, different
assets of a different obligor (here, Guarantors) .

           2.     Whether a creditor's prayers for contract-based
injunctive and declaratory relief empower courts to freeze assets
prejudgment .




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             STATEMENT OF THE CASE AND FACTS
           A-CAP and the 777 Appellants appeal from interlocutory
orders entered by the U.S. District Court for the Southern District of New

York (Koeltl, J.) issuing a preliminary injunction and denying a motion

to modify that order.
     A.    Legal Framework            Governing        Prejudgment Asset
           Restraints.
           In Grupo Mexican, the Supreme Court considered "whether,
in an action for money damages, a United States District Court has the

power to issue a preliminary injunction preventing the defendant from
transferring assets in which no lien or equitable interest is claimed." 527

U.S. at 310. It answered that question in the negative. Id. at 333.

           The Court began by holding that federal courts' authority to
issue preliminary restraints under Federal Rule of Civil Procedure 65
matches the scope of relief that was "traditionally accorded by courts of

equity" in the days of the divided bench. Id. at 319. That authority is
thus delimited by history, not a modern court's view on what is "just or

convenient" or what might further the "grand aims of equity." Id. at 342

(Ginsburg, J., concurring in part and dissenting in part). As Justice
Ginsburg described it for a four-Justice concurring and dissenting
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opinion, the ruling of the Court adopts a "static conception of equity
jurisdiction," under which a court's power is delimited by "the specific

practices and remedies of the pre-Revolutionary Chancellor," not "the
principles of equity existing at the separation of this country from

England." Id. at 336 (Ginsburg, J., concurring in part and dissenting in
part) .
           The Coulrt's ultimate holding was driven by the "substantive
rule that a general creditor (one without a judgment) had no cognizable
interest, either at law or in equity, in the property of his debtor, and
therefore could not interfere with the debtor's use of that property." Id.
at 319-20 (emphasis added). The Court repeatedly emphasized and
followed that rule, which is "a fundamental protection in debtor-creditor

law." Id. at 330; see id. at 319-320, 321, 323, 329.

           In squaring its ruling with precedent, the Court underscored
the holding in De Beers Consolidated Mines, Ltd. U. United States, 325

U.S. 212 (1945): "a plaintiff" seeking "a personal judgment in tort or
contract may not, also, apply to the chancellor for a so-called injunction

sequestrating his opponent's assets pending recovery and satisfaction of



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a judgment in such a law action." Grupo Mexican, 527 U.S. at 327
(quoting De Beers, 325 U.S. at 222-23).
           Three years after Grupo Mexican, the Supreme Court
expounded on the scope of federal courts' equitable jurisdiction in Great-

West Life & Annuity Insurance Co. U. Knudson, 534 U.S. 204 (2002).

There, the Court resolved whether, by praying for "injunctive and
declaratory relief" to "enforce [a] reimbursement provision"4 and recover

money, plaintiff sought "equitable relief," and in particular "those
categories of relief that were typically available in equity." Id. at 208,
210.

           The Court explained that whether relief is "legal or equitable

depends" on both "'the basis for [the plaintiffs] claim' and the nature of
the underlying remedies sought." Id. at 213 (quoting Reich U. Continental

Cas. Co., 33 F.3d 754, 756 (7th Cir. 1994) (Posner, J.)). And it held that

the relief sought was legal, not equitable. Id. at 221.

           Two aspects of Knudson are particularly instructive. First,
the Court looked through nominally equitable prayers and characterized


4 The provision called for reimbursement of an ERISA plan, and "the Plan
ha[d] 'a first lien"' in the recovery for which its assignee sought
reimbursement. Knudson, 534 U.S. at 207.
                                      _8_
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plaintiffs claims for relief based on the "essence" of what they "seek,"
namely to "impose personal liability on respondents for a contractual
obligation to pay money-relief that was not typically available in
equity." Id. at 210. In fact, the Court ruled that "[a]1most invariably ...

suits seeking (whether by judgment, injunction, or declaration) to compel

the defendant to pay a sum of money to the plaintiff are suits for 'money

damages,' ... And '[m]oney damages are, of course, the classic form of
legal relief." Id. (emphasis added in first) (citation omitted).
           The Court thus rejected petitioners' argument that by seeking

to enjoin violations of the parties' agreed terms, they sought equitable
relief. Id. at 210-212. It explained that "an injunction to compel the
payment of money past due under a contract, or specific performance of

a past due monetary obligation, was not typically available in equity."
Id. at 210-11. Claims arising from "a contractual obligation to pay past
due sums" simply did not sound in equity, the Court ruled. Id. at 212;
see id. at 201-211, 216.

           Second, the Court differentiated (a) claims "in which the
plaintiff 'could not assert title or right to possession of particular
property, but in which nevertheless he might be able to show just grounds

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for recovering money," which are claims "at law," and (b) truly equitable

claims to recover a particular res. Id. at 213-14. Such claims in equity
"ordinarily" come "in the form of a constructive trust or an equitable lien,

where money or property identified as belonging in good conscience to the

plaintiff could clearly be traced to particular funds or property in the

defendants possession." Id. at 213. c c B ut iv the Court continued, "where

'the property [sought to be recovered] or its proceeds have been dissipated

so that no product remains ... the plaintiff cannot enforce a constructive

trust of or an equitable lien upon other property of the [defendant] ."' Id.

at 213-14. Thus, for a claim for relief to "lie in equity, the action
generally must seek not to impose personal liability on the defendant, but

to restore to the plaintiff particular funds or property in the defendant's
possession." Id. at 214.
           Against that backdrop, Knudson held that the relief sought
"is not equitable-the imposition of a constructive trust or equitable lien

on particular property-but legal-the imposition of personal liability for

the benefits that they conferred upon respondents." Id.
           This Court has faithfully applied these principles. In Gucci
Am., Inc. U. Waxing Li, this Court held that following Grupo Mexicano,

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courts "maintain the equitable power" to "issue a prejudgment asset
freeze" only when two conditions are met: "the plaintiff is pursuing a
claim for final equitable relief," and "the preliminary injunction is
ancillary to the final relief." 768 F.3d 122, 131 (Qd Cir. 2014).5 An
injunction to preserve assets for satisfaction of an eventual money
judgment, untethered to any cognizable equitable interest in specific
property, remains forbidden.
           These precedents establish the framework that governs this
appeal. If Leadenhall has no (l) lien on Guarantors' assets, or (2)(a)
genuine claim for final equitable relief directed to Guairantors' assets, (b)

to which the preliminary injunction is ancillary, the district court lacked

power to restrain Guarantors' use of their property before judgment.




5 Those requirements were met in Gucci because the plaintiff sought an
accounting of profits under the Lanham Act. An accounting of profits is
both "one of the earliest examples of a restitutionary action in equity," id.
at 131, and a "limited exception" to the usual rule limiting prejudgment
restraints to the "identif[ied] particular res" in which plaintiff has an
equitable interest. 534 U.S. at 214 & n.2.
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     B.    Factual Background
     1.    The Parties
           Borrowers are four special purpose entities that invest in
various forms of "receivables," including future cash flows from
structured settlements and lottery winnings. (A.45-47, 49 W 29-32, 42.)

           Borrowers are remote subsidiaries of Guarantors, part of a
diverse conglomerate with interests in professional sports, aviation, ESG

investing, litigation funding, and insurance. (A.44 W 24-25.)

           Leadenhall is a London-based investor in mortality-linked
assets. (A.43-44 'w 22-23.)

           Defendant-Appellant Advantage Capital Holdings LLC ("A-

CAP") is a lender to Leadenhall's Guarantors, and Defendant-Appellant

Kenneth King is A-CAP's CEO. (A.48, 76-77 W 38, 134.) Unlike
Leadenhall, A-CAP holds, through affiliates, a perfected, first-priority

security interest in substantially all of Guarantors' now-frozen assets.
(A.76-'77 11 134; see A.949-95.) Neither A-CAP nor Mr. King is a party to

any contract in suit.




                                     _IQ_
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     2.    Leadenhall Lends Under a Credit Facility Secured by
           Borrowers' Assets, But Not Guarantors' Assets
           To facilitate additional purchases of receivables, Borrowers

entered into a Loan and Security Agreement ("LSA") with Leadenhall.

(A.49-50 44.)
           Under the LSA, Borrowers could borrow money from
Leadenhall, with such debts secured by all of Borrowers' assets and
equity as collateral. (A.38, 51-53, 55 W 2, 47, 49, 51, 60, 62.) The
permissible amount of such borrowing for each Borrower was limited by

reference to its "borrowing base." (A.53 'I 52.)

           Separately, Leadenhall also entered into a "Guaranty
Agreement" with the Guarantors. (A.5l-52 11 47.) But unlike the LSA,

the Guaranty Agreement was unsecured, as Guarantors did not pledge

any assets of their own as security.               (See A.25l-68 (Guaranty
Agreement); see also A.58-60 W 74-77 (describing the Guaranty
Agreement and alleging no security interest in any asset of any
Guarantor).) Instead, through the Guaranty Agreement, Guarantors'
contractually (and conditionally) "guaranteed" Borrowers' contractual

Obligations. (See A.250.) In particular, Section 2(a) of the Guaranty
Agreement, on which Leadenhall relies, promises "full and punctual
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payment and performance when due                          of the Guaranteed
Obligations"-i.e., the Borrowers' contractual obligations under the LSA.

(A.254.)

            The core "Obligation" of each Borrower under the LSA is "the

punctual payment when due of all obligations and indebtedness of such

Borrower." (CA-61.) The "Covenants" of Section V supply Borrowers'
other Obligations. Pledging collateral is not one of them. Instead, in the
part of the LSA that deals with Collateral, Section 2. 15, Borrower "hereby

grants ... a first-priority security interest in the Collateral" "[to secure
the performance by the Borrowers of all of the Obligations." (CA-82 §
2.l5(a); cA-516 § 2.2; CA-528 § 2.2; cA-540 § 2.2; CA-552 § 2.29 Thus,

neither the LSA nor the Guaranty obligates Borrowers or Guarantors to

provide substitute collateral in the event of a collateral shortfall or for
any other reason. (See CA.23 and A.l032-l033 (citing A.224, 232-33 §§

5.01(i>, § 7.0l(c), § 7.02<8>,- A1044 § 2.07).>

            An uncured shortfall in the value of the collateral is instead
an Event of Default that gives Leadenhall the right to accelerate
Borrowers' debt, as it has done here. (A.53-54 'I 53.)



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           Thus, under these contracts, Leadenhall only holds a security

interest in the originally pledged assets and equity of the Borrowers. (See

A.51-52, 53, 55 W 47(d), 51, 62; A209 n.l.) And because Leadenhall
cannot claim to have a security interest in any assets of the Guarantors,

the financing statements it has filed relate only to the assets and
membership interests of the Borrowers. (See A.949-995; CA.33 n.22.)

Leadenhall thus has no security interest in Guarantors' assets, a fact
which appears to have been acknowledged by the district court. (A.780,

819 at 16:24-25, 55:7-9; A.l346 at 52:17-18.)

     3.    Leadenhall Declares Events of Default and Accelerates
           Borrowers' Debt.
           Borrowers began borrowing under the LSA in May 2021.
(A.63 11 89.) Leadenhall alleges that from inception, two of the four
Borrowers overstated the value of their pledged receivables-and thus
their borrowing bases under the LSA-in the monthly reports they
provided to Leadenhall. (A.64, 66-68, 76-77 'w 92, 99, 103, 131, 134.)

           In response, Leadenhall noticed defaults under the LSA and

accelerated the full amount of Borrowers' debts, which totaled more than

$609 million. (A.89-90 W 160, l7l-72; A.l84, 198.) Leadenhall now

seeks that amount in contract damages. (Id.)
                                     _15_
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     c. The Proceedings Below
     1.      The Complaint for Money Damages
             Appellees' complaint asserted nine claims for relief, including

the contract claim at issue here.6            (A.37 'w 212-281.)         The final

paragraph of every claim demanded money damages-and nothing else.

(See A.105, 108-09, 111-13, 115-17 'w 218, 229, 236, 246, 254, 260, 270,

277, 281.)

     2.      Appellees' Application for Injunctive Relief
             When Leadenhall applied for a temporary restraining order,

it did so based only on its contract claims (A.l77, 192), which seek $609.5

million of Accelerated Debt as damages.

             Leadenhall sought to freeze assets of Borrowers and
Guarantors sufficient to cover the monetary judgment it seeks (A.l90).

Leadenhall argued that Defendants might "become] insolvent to prevent

Leadenhall from enforcing any judgment against Defendants in this
litigation." (A.368 ii 5; A.lol6 (assertedly seeking to preclude Borrowers




6 Leadenhall's motion for a temporary restraining order, which was later
converted into the preliminary injunction, was based on its original
complaint. (A.37.) Leadenhall filed an Amended Complaint after the
preliminary injunction was entered. (A.l073.)
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and Guarantors from using insolvency as a "shield against judgment").)

Its only stated purpose for the relief was to prevent Defendants from
dissipating assets and frustrating the collection of a final judgment.
(A.l90, 198.) (See generally A.l69-709.)

     3.    The TRO and Preliminary Injunction
           On June 7, 2024, the district court granted the temporary
restraining order (the "TRO"), which "other than in the normal and
ordinary course of business":

           (A) prohibits selling, transferring, converting,
           pledging, or encumbering the assets pledged as
           collateral by the Borrowers to Leadenhall under
           the Loan and Security Agreement dated May 7,
           2021;

           (B) to the extent the value of the assets pledged as
           collateral by the Borrowers to Leadenhall is less
           than the full amount of the Accelerated Debt,
           prohibits the expenditure or dissipation of any
           cash or cash equivalents owned by the Borrowers
           and Guarantors sufficient to cover the full amount
           of the Accelerated Debt;
           (C) to the extent the value of (i) the assets pledged
           as collateral by the Borrowers, plus (ii) the value
           of any cash or cash equivalents owned by the
           Borrowers and Guarantors is insufficient to cover
           the full amount of the Accelerated Debt, prohibits
           the expenditure or dissipation by the Borrowers
           and Guarantors of any cash or cash equivalents
           received from any sale or transaction up to the full
           amount of the Accelerated Debt;
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           (D) prohibits the Borrowers and Guarantors from
           taking any action to dissipate the value of their
           assets, including by transferring assets to any
           Defendant;
           (E) requires the Borrowers and Guarantors to
           provide notice ... of any attempt by any Defendant
           to foreclose on, repossess, or exercise remedial
           actions against the assets of the Borrowers and
           Guarantors and/or prevent any Defendant from
           foreclosing on, repossessing, or exercising
           remedial actions against the assets of the
           Borrowers and Guarantors.

(A.833-34.)

           Because Leadenhall moved on only its contract claims, the

district court analyzed only Leadenhall's likelihood of success on the
merits of those claims.        (See A.816-17 at 52:4-53:5.) It held that
Leadenhall's likely success on those claims-and those claims alone-
was "a sufficient basis for the Court to order the relief requested." (A.765

at 52:14-16.)

           Consistent with the sole rationale expressed in Leadenhall's

application, the district court entered the preliminary injunction to
"prevent the defendant borrowers and guarantors from dissipating their

assets to frustrate the collection of a final judgment." (A.l338 at 44:9-
11.)

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           The district court distinguished Grupo Mexican based on
Leadenhall's security interest in Borrowers' assets:

           As to the guarantors, the guarantors guaranteed
           performance of all the borrowers' obligations to
           Leadenhall.       Accordingly, this case is
           distinguishable from Grupo Mexicano de
           Desarrollo S.A. U. All. Bond Fund, Inc., 527 U.S.
           308 (1999), which the defendants cite. In Grupo
           Mexicano, as opposed to this case, the notes issued
           by the borrower and guaranteed by the guarantors
           were explicitly unsecured.
(A.819 at 55:13-19.)

           The district court later converted the TRO into a preliminary

injunction on the same terms and "for the same reasons that [it] issued
the TRO." (SPA.l-3; A.933 at 32:10-ll.)
     4.    The District Court Declines to Modify Its Order.
           A-CAP moved to modify the preliminary injunction under
Federal Rule of Civil Procedure 59(e) to exclude from the restraint assets

in which Leadenhall has no lien or equitable interest. The district court
denied A-CAP's motion from the bench, (A.l350 at 56:14-18; see also

SPA.4), reasoning that "Leadenhall has a security interest in the assets

of the Borrowers" and "also has an interest in the assets of the


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Guarantors who guaranteed 'performance when due."' (A.l346 at 52:9-

13,17-20.)

             The district court ruled that "this is not an action for money
damages alone," because Leadenhall's complaint and Amended

Complaint include equitable prayers, and in a "mixed case," district
courts are empowered to restrain assets prejudgment. (A.l346-47 at
52:24-53:10.)




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                     SUMMARY OF ARGUMENT

           The district court erred in granting a preliminary injunction
freezing Guarantors' assets in aid of Leadenhall's efforts to obtain
contract damages. In Grupo Mexican, the Supreme Court held that
district courts have no authority to impose a preliminary injunction on a

debtolr's assets when the creditor claims no lien or equitable interest in

those assets. 527 U.S. at 310, 333. The Supreme Court thus reaffirmed

the "substantive rule" that "a general creditor (one without a judgment)
had no cognizable interest, either at law or in equity, in the property of

his debtor, and therefore could not interfere with the debtor's use of that

property." Id. at 319-20.        The district court nonetheless enjoined
Guarantors' use of its assets in aid of Leadenhall's contract claims for
money damages. In doing so, the district court committed legal error in
two significant ways.
           First, the district court exceeded its authority by restraining
Guarantors' assets based on Leadenhall's asserted security interest in
Borrowers' assets.      Leadenhall has no lien or security interest in
Guarantors' assets. See infra Section I.A. And while Leadenhall does
assert a security interest in Borrowers' assets, that provides no basis

                                     _QUO_
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under Grupo Mexican to enjoin different assets of different parties-

Guarantors. See infra Section I.B. In any case, no security interest can

authorize a prejudgment freeze when, as here, plaintiff seeks money
damages rather than the equitable remedy of foreclosure. See, et., Noble

Prestige Ltd. U. Galle, 83 F.4th 1366, 1384 (llth Cir. 2023). See infra

Section I.C.
            Second, Leadenhall has no equitable interest in Guarantors'

assets. To show an equitable interest, Leadenhall must "[p]ursue a claim

for final equitable relief" that was "traditionally available" from and
"accorded by courts of equity." Gucci Am., 768 F.3d at 131. It does not.

The district court granted Leadenhall preliminary injunctive relief based

on its contract claims-quintessential claims at law-to preserve its
ability to collect money damages. The Court erred by evading Grupo
Mexican on the ground that Leadenhall's complaint also includes
equitable prayers-contract-based prayers for injunctive and declaratory

relief.   The plaintiff in Grupo Mexican itself prayed, much like
Leadenhall, for permanent injunctive relief, but that did not change the
result. Grupo Mexican, 527 U.S. at 314. And Knudson forecloses

equitable jurisdiction over contract claims to which prayers (like

                                        _QQ_
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Leadenhall's) for injunctive and declaratory relief are appended. 534 U.S.

at 210-12. See infra Section II.A.

           The injunction order also errs because it is ancillary only to

Leadenhall's contract claims for money damages-its sole aim is to
preserve assets in aid of collection. But "seeking equitable assistance in

the collection of a legal debt" simply "has nothing to do with the
preliminary relief" that is properly "available in a suit seeking equitable

relief." 768 F.3d at 131 (quoting Grupo Mexican, 527 U.S. at 325). See

infra Section II.B.

           Nor can the district court's authority be expanded by
recasting the complaint as one seeking specific performance of a
purported obligation to pledge additional collateral. Leadenhall's
complaint contains no claim for specific performance, and it never even

tried to show that it would likely succeed on the merits of such a claim-

or one to compel such a pledge by mandatory injunction. Nor could it:

the agreements at issue do not require Guarantors to pledge collateral.

In any case, a purported claim to pledge "sufficient" replacement does not

seek to "restore to the plaintiff particular funds or property in the
defendant's possession," but rests instead on the premise that Leadenhall

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is "contractually entitled to [the pledging of] some funds for benefits that

[it] conferred" under the LSA. Knudson, 534 U.S. at 213-214. Such a

claim is "not equitable ... but legal" because it would not seek any
"specific assets that are currently in Defendants' possession but,
according to Plaintiff, 'belong[] in good conscience to [it].'" Id. at 213-14.

See infra Section ICC.

           The district court's asset freezing preliminary injunction
order should be vacated as to Guarantors' assets.

                         STANDARD OF REVIEW
           This Court reviews errors of law on which preliminary
injunctions are based de novo. See, et., JLM Couture, Inc. U. Gutman,

91 F.4th 91, 99 (2d Cir. 2024); E.E.O.C. U. KarenKim, Inc., 698 F.3d 92,

99-100 (Qd Cir. 2012).

                                ARGUMENT

           Grupo Mexican forbids freezing assets in which the plaintiff

has no "lien or equitable interest." 527 U.S. at 310, 333. The district
court did not find Leadenhall to have either a lien or an equitable interest

in Guarantors' assets. It nevertheless froze Guarantors' assets, and
justified the freeze in two ways. First, it reasoned that Leadenhall's

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security interest in Borrowers' assets authorized freezing Guorcmtors'
property. Second, it held that Leadenhall's prayers authorized it to
freeze assets prejudgment and that Leadenhall had "an interest in
Guarantors' assets" that stemmed from a contract. Both are legal error.

1.   BY RESTRAINING GUARANTORS' ASSETS BASED ON A
     SECURITY INTEREST IN BORROWERS' ASSETS, THE
     DISTRICT COURT EXCEEDED ITS AUTHORITY.
           The district court's reliance on Leadenhall's purported status

as a "secured" creditor was erroneous. First, Leadenhall has no security
interest (and certainly no "lien") in any asset of Guarantors. Second,
Leadenhall's security interest in Borrowers' assets is irrelevant, because
the analysis under Grupo Mexican turns on the specific assets sought to

be restrained, not the creditor's status as to other assets. Third, even
if-contrary to the facts-Leadenhall had a security interest in some of
Guarantors' assets, the asset-freezing injunction was improper because

Leadenhall does not seek final relief (foreclosure) with respect to those

specific assets, nor did the Court limit the injunction to those specific
assets.




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     A.    Leadenhall Claims No Security Interest in Guarantors'
           Assets.
           As Leadenhall concedes and the district court acknowledged,

Leadenhall has no lien or security interest in any asset of Guarantors.
(A.l334-35 at 40:7-41:2; A.l346 at 52:17-23; A.l347-48 at 53:21-54:6.)

While Guarantors did guarantee the "performance and payment when

due" of Borrowers' obligations, Guarantors pledged no asset of their own

as collateral. See Supra Statement of the Case and Facts 13.2. There is

thus no lien-based justification for the preliminary restraint on
Guarantors' assets.

     B.     Leadenhall's Security Interest in Borrowers' Assets
            Provides No Authority to Freeze Guarantors' Assets.
           The district court erred by using Leadenhall's "secured first-

priority interest in the collateral the borrowers pledged" to justify a freeze

of different assets-Guarantolrs'. (A.8l9 at 55:7-19; A.933 at 32:10-ll;

see A.l339, 1342 at 45:2-5, 48:9-15.) The district court reasoned that
Leadenhall's security interest in Borrowers' assets makes Leadenhall a

"secured creditor," and it held that "Grupo Mexican does not control

where a secured creditor seeks a preliminary injunction restraining asset

transfers." (A.l345 at 51:2-3; see A.77l 7:5-10.) That is wrong.


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           Grupo Mexicano's core concern-protecting a debtor's right to

use its unencumbered property-applies regardless of whether the
creditor is otherwise "secured." Unless the creditor has "an interest in
the property" to be restrained "which equity could ... act upon," 527 U.S.

at 323, courts are powerless to intrude on debtors' property rights.

           In "fo11ow[ing] the well-established general rule that a
judgment establishing the debt was necessary before a court of equity
would interfere with the debtor's use of his property," Grupo Mexicano
neither uncovered nor created an exception to the rule for secured
creditors. Id. at 321. To the contrary, while respondents "assert[ed] that
there were ... exceptions to the general rule," the Court was "not inclined

to speculate upon the existence or applicability to this case of any
exceptions." Id. The Coulrt's holding thus applies to all "general

creditors" ("one[s] without a judgment"). Id. at 319. That includes
Leadenhall here.

           The district court's contrary approach would write Grupo
Mexican out of the law for general creditors with any security interest

in any asset of any debtor anywhere. So long as a creditor had any
security interest, they would be given a "new" and "powerful weapon of

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oppression" that would upset "the balance between debtolr's and creditor's

rights which has been developed over centuries." Id. at 330-31. But that

balance may be disturbed only by Congress, not "judicial fiat." Id. at 331;

see id. at 322, 329.

      c. Absent Foreclosure, a Security Interest Cannot
            Support an Asset Freeze.
            In all cases, the district court erred by freezing Guarantors'

assets based on a security interest in Bolrlrowelrs'.                 Yet, even a

(counterfactual) security interest in some asset of Guarantors would not

authorize courts to restrain those assets prejudgment on Leadenhall's
contract claims.

            While it discussed the absence of a "lien," Grupo Mexican did

not address whether or when a security interest in particular assets can

itself authorize courts to freeze those assets prejudgment7 and neither
                                                                  7




this Court nor the Supreme Court has confronted the question since. The

Eleventh Circuit-the only court of appeals to consider the matter-holds


7 While Grupo Mexican held that district courts lack the power to
restrain assets unencumbered by plaintiffs "lien or equitable interest,"
527 U.S. at 310, 333, it did not decide whether a lien-much less a
security interest-on particular assets is sufficient to permit
prejudgment restraint on those assets to prevent their dissipation
pending a potential money judgment.
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that "a lien against property" is only "sufficient to give the district court

the equitable authority to issue preliminary injunctive relief" when "the

plaintiff has sought to foreclose on that lien." Noble Prestige Ltd. U. Galle,

83 F.4th 1366, 1384 (llth Cir. 2023). Its rationale: "An action to reduce

the obligation established by" a security interest "to judgment is one at

law, ... whereas a foreclosure action is equitable in nature." Id. at 1383.

Well-reasoned rulings from district courts within this Circuit are in
accord. See, et., Prof'l Merck. Advance Cap., LLC U. C Care Serve., LLC,

2013 WL 12109397, at *2 (S.D.N.Y. Oct. 2, 2013) (Sullivan, J.) ("Plaintiff

is not entitled under federal law to a TRO limiting Defendants' use of
their own assets [because] despite Plaintiffs security interest, it has not

made a claim reaching any particular asset of Defendants."); see also
AKE Inc. U. AvantGarde Senior Living, 2021 WL 2662070, at *6
(N.D.N.Y. Apr. 29, 2021) (denying asset freeze because "Plaintiff seeks

no relief with respect to that security interest that could even arguably

be construed as equitable") .

           Those holdings are faithful to this Court's holding in Gucci:

Courts are authorized to freeze assets prejudgment only when that relief

was "traditionally accorded by courts of equity," and thus only when

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plaintiff pursues final equitable relief. Gucci Am., 768 F.3d at 131.
Neither Leadenhall nor the district court suggested, however, that courts

of equity traditionally froze assets in contract cases when plaintiff had a

security interest in the frozen assets, and Appellants are unaware of any

authority supporting that proposition. Here, Leadenhall applied for
relief based exclusively on its contract claims. "Until and unless"
Leadenhall seeks to foreclose, Leadenhall has "not invoked the district

court's equitable power" to restrain any asset. Noble Prestige Ltd., 83

F.4th at 1384.

            While some district courts have held that a security interest
can authorize a preliminary asset-freezing injunction, those cases strictly

limit the restraint to the particular assets in which the plaintiff claims a

security intelrest.8



8 See, e.g., Quantum Corp. Funding, Ltd. U. Assist You Home Health Care
Servs. of Va., 144 F. Supp. 2d 241, 250 & n.9 (S.D.N.Y. 2001) (enjoining
"only a portion of" the receivables pledged by borrowers: the "specific
funds" in which plaintiff "possess[ed] a security interest"); III Fin. Ltd. U.
Aegis Consumer Funding Grp., Inc., 1999 WL 461808, at *4 & n.1
(S.D.N.Y. July 2, 1999) (holding that the preliminary injunctive relief at
issue was "proper" because "[plainitff] claims a security interest in the
assets subject to the preliminary injunction"); see also Bank of Am., N.A.
U. Won Sam Yi, 294 F. Supp, 3d 62, 83 (W.D.N.Y. 2018) (restraining only
"the Collateral").
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           The ruling below is the first and only case to hold that a
security interest in some assets empowers federal courts to freeze others.

The sort of freeze ordered below has thus never been available in any
other federal court at any time-to include courts of equity in the days of

the divided bench.9 Granting the relief was therefore outside the district

court's powers, no matter how "just or convenient" it believes the
preliminary injunction to be. Grupo Mexican, 527 U.S. at 328.
11.   LEADENHALL HAS NO                     EQUITABLE        INTEREST IN
      GUARANTORS' ASSETS.

           For a creditor to have an "equitable interest" sufficient to
authorize a prejudgment asset freeze, it must "pursue] a claim for final
equitable relief" that was "traditionally available" from and "accorded by

courts of equity," and "the preliminary injunction [must be] ancillary to

the final relief." Gucci Am., 768 F.3d at 131. Leadenhall has no equitable
interest in any asset of Guarantors, and the district court erred by
restraining them based on "an interest" based exclusively in contract.



9 The district court did not hold to the contrary. Instead, it faulted A-
CAP for failing to prove a negative: that the relief was not typically
available from the English Court of Chancery in 1789. (A.l300-0l at
6:23-7:15.) The burden, however, was Leadenhall's-one it did not and
cannot meet. (A.l03l-34.)
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            First, Leadenhall brings no claim for final equitable relief. It

applied for the preliminary injunction based only on its contract claims

for money damages, the quintessential claim at law. Creditors cannot
evade Grupo Mexican by appending equitable prayers.                     Nor can

Leadenhall's recently added fraudulent transfer claims suffice.

            Second, the preliminary injunction is ancillary only to
Leadenhall's ability to collect the contract damages it seeks, not any final

equitable relief.

           Third, an imagined contractual obligation to pledge sufficient
replacement collateral cannot support a restraint on Guarantors' assets.

Leadenhall failed to plead, move for relief on, or show a likelihood of

success on a mandatory injunction compelling such a pledge. What is

more, under the plain contract language, neither the LSA nor the
Guaranty obligates any entity to pledge replacement collateral.

     A.     Leadenhall Brings No Claim for Final Equitable Relief.
            For the district court to "interfere with the [Guarantors'] use

of [their] property" prejudgment, Grupo Mexican, 527 U.S. at 320,

Leadenhall must "pursue] a claim for final equitable relief" against
Guarantors' assets, Gucci Am., 768 F.3d at 131 (citation omitted). Yet

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Leadenhall seeks none of the "categories of relief that were typically
available in equity." Knudson, 534 U.S. at 210 (emphasis in original). To
the contrary, it brings claims at law seeking money damages.
     1.    Leadenhall's Contract Claims for Money Damages Are
           Claims at Law.
           Whether relief is "legal or equitable depends" on both "'the
basis for [the plaintiffs] claim' and the nature of the underlying remedies

sought." Knudson, at 213 (quoting Reich U. Continental Cas. Co., 33 F.3d

754, 756 (7th Cir. 1994) (Posner, J.)). Here, Leadenhall applied for
preliminary relief based only on its contract claims against Borrowers
and Guarantors. (A.8l6 at 52:14-16.) The remedy it seeks is $609.5
million in allegedly overdue Accelerated Debt as contract damages.
(A.772 at 8:7-ll (counsel for Leadenhall explaining proposed temporary

restraining order to target "$609 million in accelerated debt.")).

           That is no equitable claim for relief. To the contrary, a "claim

for money due and owing under a contract is quintessentially an action
at law . .. And money damages are, of course, the classic form of legal
relief." Knudson, 534 U.S. at 210 (internal quotations omitted) (emphasis
in original). By seeking "to impose personal liability on respondents for


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a contractual obligation to pay money," Leadenhall thus seeks "relief that

was not typically available in equity." Id.

     2.    Leadenhall's Nominally Equitable Prayers Cannot
           Transform the Character of Its Claims.
           The district court nevertheless held that when a secured
c1redito1r10 "seek[s] both monetary and equitable relief, Grupo Mexican

does not control, and this Court has the authority to issue a preliminary

injunction to prevent the dissipation of assets." (A.l347 at 53:11-15.)
Indeed, it read Grupo Mexican to "distinguish[]" Desert U. Independence

Shares Corporation, 311 U.S. 282 (1940), because "the plaintiffs in that

case sought an equitable remedy." (A.l343 at 49:22-50:4.) The district

court did not, however, test whether Leadenhall's prayers gave
Leadenhall an "equitable interest" in particular assets of the sort
demanded by Grupo Mexican, Knudson, and Gucci. It did not hold that

the sort of relief for which Leadenhall prayed was traditionally available

in courts of equity. Instead, in the district court's reasoning, appending

any equitable prayer would do. Its reasoning comprises a list of the
nominally equitable prayers that appear in the complaint (and for good


10 As addressed in Part I, supra, a security interest in Borrowers' assets
does not authorize a freeze of Guarantors' assets.
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measure, in the recently filed amended complaint too) and this
conclusion: "These are equitable prayers for relief." (A.l34'7 at 53:10-
11.)

           a. By looking only to the equitable prayers for relief, the
district court erred. In Knudson, the Supreme Court rejected just such
an "approach[] which looks only to the nature of the relief" and thus
might "permit[s] (what equity would never permit) an injunction against

failure to pay a simple indebtedness ...." 534 U.S. at 216.

           Indeed, Grupo Mexican itself makes clear that a creditor
cannot evade its holding by appending an equitable prayer: Much like
Leadenhall, the creditor in Grupo Mexican prayed for permanent
injunctive relief. See Grupo Mexican, 527 U.S. at 314.

           It would have thus been illogical for Grupo Mexicano to
distinguish Deckert merely because the plaintiff there appended an
equitable prayer, and it did not. Instead, the Court distinguished Deckert

because there, the plaintiff sought a particular sort of equitable relief:
"the equitable remedies of rescission of the contracts and restitution of
the consideration paid[.]" Grupo Mexican, 527 U.S. at 325. Leadenhall

seeks nothing of the sort here; it seeks to impose personal liability for an

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allegedly overdue Accelerated Debt. See Knudson, 534 U.S. at 213

(setting out exacting requirements for equitable restitution, which
Leadenhall cannot meet) .
           Nor does this case resemble United States U. First National

City Bank, 379 U.S. 378 (1965), which Grupo Mexican distinguished
because, unlike Leadenhall, the creditor asserted an equitable lien on the

particular property subject to the injunction. See 527 U.S. at 326.

           And while the district court here invoked Dong U. Miller for

its powers in a "mixed case," that case holds that "[i]t is ... not true that

the Grupo Mexican rule falls away once a plaintiff asserts any claim for
equitable relief." 2018 WL 1445573, at *8 (E.D.N.Y. Mar. 23, 2018).
There, the court applied Gucci and Knudson faithfully. It denied
plaintiffs request to freeze assets in connection with contract and
fraudulent-conveyance claims, for which plaintiff sought the "essentially

legal" relief of money. Id. at *7. The restraint it issued was instead

narrowly tailored to the "equitable-lien claims," which sought equitable

relief "in the form of liens on specific assets that are currently in
Defendants' possession but, according to Plaintiff, 'belonging in good
conscience to [him]."' Id. at *10 (quoting Knudson, 534 U.S. at 213)

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(alteration in original). Cf. Paradigm BioDevices, Inc. U. Centinel Spine,

Inc., 2013 WL 1915330, at *5 (S.D.N.Y. May 9, 2013) (holding that when

an equitable interest is "limited to [particular] assets, only those assets

may be enjoined") .

            b. Here, Leadenhall appends two sorts of nominally equitable

prayers to its contract claims: a prayer to enjoin violations of contract
"enjoining Defendants violating their obligations under the Agreements"

and prayers to declare contractual rights. (A.ll7 11282.) Yet controlling

Supreme Court precedent holds that appending precisely those prayers

cannot yield an equitable claim for relief. 11

            In Knudson, the Court resolved whether, by praying for

"injunctive and declaratory relief" to enjoin violations of the parties'
agreed terms, "enforce [a] reimbursement provision," and recover money,

plaintiff sought "equitable relief," and in particular "those categories of



ii Several courts have derided this tactic, calling it an ineffectual "facile
trick." See, e.g., Wal-Mart Stores, Inc. Assoc.'8 Health and Welfare Plan
U. Wells, 213 F.3d 398, 401 (7th Cir. 2000) (Posner, J.) (rejecting the
"facile trick" of seeking to convert a contract claim into an equitable claim
by "asking that the defendant be enjoined from refusing to honor its
obligation to pay the plaintiff what the plaintiff is owed under the
contract and appending to that request a request for payment of the
amount owed.").
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relief that were typically available in equity." 534 U.S. at 208, 210
(citations omitted) .

             The Court, in a holding that controls here, ruled that the relief

sought was legal, not equitable. Id. at 221. The Court looked through
plaintiffs prayers and characterized plaintiffs claims for relief based on

the "essence" of what they "seek." Id. at 210.12                 And much like
Leadenhall, plaintiff sought, at bottom, to "impose personal liability on
respondents for a contractual obligation to pay money-relief that was
not typically available in equity." Id. In fact, the Court ruled that
"[a]1most invariably . . suits seeking (whether by judgment, injunction,

or declaration) to compel the defendant to pay a sum of money to the

plaintiff are suits for 'money damages/ .... And '[m]oney damages are,
of course, the classic form of legal relief." Id. (emphasis added) (citation

omitted) .

             Claims arising from "a contractual obligation to pay past due

sums," like Leadenhall's, simply do not sound in equity. Id. at 212
(emphasis in original); see id. at 201-211, 216.


12 This Court does the same. Nechis U. Oxford Health Plans, Inc., 421
F.3d 96, 104 (2d Cir. 2005) ("declin[ing]" the "invitation to perceive
equitable clothing where the requested relief is nakedly contractual") .
                                       _38_
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           c. Nor can Leadenhall's prayer for "'[a]n order voiding
fraudulent transfers and rescinding payments related thereto,"' (A.l347

53:3-6, 8-l0), authorize an asset freeze. That prayer (and Leadenhall's
fraudulent transfer claims) were added only with Leadenhall's August 30

amendment. (Compare Complaint (A.37) (May 3, 2024), with Amended
Complaint (A.l073) (filed August 30, 2024, corrected September 6,
2024).) Leadenhall has never applied for injunctive relief based on those

claims, and it has thus not shown that it is likely to succeed on them.

           Moreover, those claims are far afield of Leadenhall's contract

claims and Guarantors' assets. (See A.ll48-51, 1224-27 W 221-29,
403-16.) They are entirely inapt.

     B.    The Preliminary Injunction Is Ancillary Only to
           Leadenhall's Contract Claims for Money Damages.
           The district court further erred because its prejudgment asset

freeze against Guarantors' assets is ancillary only to Leadenhall's
contract claims-not any final equitable relief. And "seeking equitable
assistance in the collection of a legal debt" simply "has nothing to do with

the preliminary relief" that is properly "available in a suit seeking
equitable relief." Gucci Am., 768 F.3d at 131 (quoting Grupo Mexican,

527 U.S. at 325.).

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           The preliminary injunction is ancillary only to the money
damages Leadenhall seeks. Leadenhall sought an injunction against
Borrowers and Guarantors' assets up to approximately $609 million-the
measure of its alleged contract damages, including unpaid interest and

other fees. See supra Statement of the Case and Fact 13.3. And
Leadenhall admitted repeatedly that the preliminary relief it sought
"relate[d] specifically to its claims arising from contractual agreements
with" the 777 Defendants and the "Accelerated Amount undisputedly due

thereunder." (A.l92; see also A1368 1 5 (seeking injunction "to prevent
Defendants from ... becoming insolvent to prevent Leadenhall from
enforcing any judgment against Defendants in this litigation."); A.838
("Leadenhall ... seeks to preserve its ability to recover $609 million in

accelerated debt."); A.lol6 ("Leadenhall seeks injunctive relief 'to
preserve assets as security for a potential monetary judgment[.']"
(internal citation omitted)).) Preserving its ability to collect money
damages was Leadenhall's only justification.

           The district court also made clear that the preliminary
injunction's sole purpose is to "prevent the defendant borrowers and
guarantors from dissipating their assets to frustrate the collection of a

                                     _40_
             Case: 24-2647, 11/22/2024, DktEntry: 43.1, Page 49 of 60




final judgment." (A.l338 at 44:9-ll.) That purpose is evident on the face

of the preliminary injunction: it enjoins dissipation of money and assets

sufficient to satisfy Leadenhall's claim for $609 million contract damages.

See supra Statement of the Case and Fact 13.3.

           Because the restraint is not ancillary to any claim for final
equitable relief, the district court lacked the authority to enter the
preliminary injunction.

     c. No Prayer to Compel a Pledge of Sufficient Collateral
           Creates an Equitable Interest.
           In denying A-CAP's motion to modify the preliminary
injunction order, the district court ruled, based on Sections l and 2(3) of

the Guaranty, that "Leadenhall also ha[d] an interest in the assets of the

guarantors who guaranteed 'performance when due (whether at stated

maturity, by acceleration, or otherwise) of the Guaranteed Obligations'

including the obligation to pledge a first-priority security interest.        97




(A.l346 at 52:19-23; see also A.l347-48.) But for three main reasons,

restraining all of Guarantors' assets on that basis is error.

           First, any such "interest" is purely contractual, not equitable.

           Second, Leadenhall neither claims nor                    applied for

preliminary relief based on any asserted obligation to pledge collateral.
                                      -41-
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Indeed, neither Leadenhall's complaint nor its application for
preliminary relief so much as suggests that Guarantors breached any
obligation to pledge additional collateral. It thus has never demonstrated

any likelihood of success on such a theory. Cf. Winter U. Nat. Res. Def.

Counsel, Inc., 555 U.S. 7, 20 (2008) (requiring plaintiff to show a

likelihood of success on the merits). And Leadenhall certainly has not
shown a likelihood to meet the particularly high burden to compel
performance through a mandatory preliminary injunction, which "should

issue only upon a clear showing that the moving party is entitled to the

relief requested, or where extreme or very serious damage will result
from a denial of preliminary relief." Cacchillo U. Insured, Inc., 638 F.3d

401, 406 (Qd Cir. 2011) (affirming denial of mandatory preliminary
injunction to compel specific performance). Moreover, Leadenhall has

never asserted a specific performance claim against either Borrowers or

Guarantors.13
           Third, under its plain language, neither the LSA (between

Leadenhall and Borrowers) nor the Guaranty Agreement (between


13 Such a prayer would make no difference. "[S]pecific performance of a
past due monetary obligation[] was not typically available in equity."
Knudson, 534 U.S. at 210-11.
                                     _IQ_
              Case: 24-2647, 11/22/2024, DktEntry: 43.1, Page 51 of 60




Leadenhall and Guairantors), obligated either party to set aside or pledge

any collateral. In interpreting such an obligation into the agreements,
(A.l346 at 52:17-23; A.l349-50 at 55:24-56:3), the district court erred.

             The core "Obligation" of each Borrower under the LSA is "the

punctual payment when due of all obligations and indebtedness of such

Borrower."     <cA-61 § 1.01.)       The "Covenants" of Section V supply
Borrowers' other Obligations. Pledging collateral is not one of them.

             Under the part of the LSA that deals with Collateral, Section

2.15, Borrower "hereby grants ... a first-priority security interest in the

Collateral" "[to secure the performance by the Borrowers of all of the
Obligations." (CA-82 § 2.l5(a) (emphasis added).) And the Pledge

Agreements underscore that the pledging of collateral occurred upon
execution of the LSA and is not itself an Obligation, but a means of
"securi[ng] the prompt and complete payment or performance ... of all
Obligations." (cA-516 § 2.2; CA-528 § 2.2; cA-540 § 2.2; CA-552 § 2.29

There is thus no Obligation for Borrowers or Guarantors to provide
substitute or additional collateral. If there were such an Obligation,
surely that defined term would have been defined to include it.



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           Fourth, even a purported contract-based prayer to "set aside

sufficient assets" and pledge them as additional collateral, (A.l032), (on

which a plaintiff has shown it is likely to succeed), creates no equitable

interest in any particular asset. Yet courts only have the power to enjoin

"particular funds or property" in which the creditor has an equitable
interest. Knudson, 534 U.S. at 213-14 .

           By asserting that it is "contractually entitled to [the pledging

of] some funds for benefits that [it] conferred" under the LSA, id.,
Leadenhall asserts no equitable interest in any of Guarantors' assets
"which equity could then act upon." Grupo Mexican, 527 U.S. at 323.
Accord Prosper, Inc. U. Innovative Software Techs., 188 F. App'x 703, 705

(loth Cir. 2006) ("As we have rejected the idea that [the plaintiff] is
seeking to litigate a specific asset or fund of [the defendant], we do not

find applicable the notion that a district court has the power to grant an

interlocutory injunction to preserve a fund that might be subject to a final

decree ...."); Prof'l Merck., 2013 WL 12109397, at *2; Paradigm
BioDeuices, 2013 WL 1915330, at *5.

                                 *     *      *




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           By treating Leadenhall's security interest in Borrowers'
assets as authority to enjoin Guarantors' property, the court contradicted

Grupo Mexicano's core holding. And by crediting Leadenhall's equitable

window dressing as establishing a genuine equitable interest, the court

defied Knudson's clear teaching. These errors in applying settled legal
principles warrant reversal or vacate.
                                CONCLUSION
           For these reasons, this Court should vacate that portion of the

district court's preliminary injunction that restrains assets of the
Guarantors.

Dated: New York, New York
        November 22, 2024

                                      By: /s/ Jonathan M Watkins
                                           Jonathan M. Watkins
                                           Counsel for Advantage Capital
                                           Holdings LLC and Kenneth
                                           King




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                  CERTIFICATE OF COMPLIANCE
           Pursuant to Federal Rule of Appellate Procedure 32(g), the
undersigned counsel for Appellant certifies that this motion:

           (i)    complies with the word limitations of LR 32.l(a)(4)
because it contains 8,395 words, including footnotes and excluding the
parts of the brief exempted by Federal Rule of Appellate Procedure 32(f),

as calculated by the word processing system used in its preparation; and

           (ii)   complies with the typeface and type-style requirements

of Federal Rules of Appellate Procedure 32(a)(5) and 32(a)(6) because it

has been prepared in Microsoft Word using the proportionally-spaced

typeface of Times New Roman in l4-point font.

Dated: New York, New York
        November 22, 2024

                                    By: /s/ Jonathan M Watkins
                                         Jonathan M. Watkins
                                         Counsel for Advantage Capital
                                         Holdings LLC and Kenneth
                                         King




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           SPECIAL APPENDIX
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW Y O R K

LEADENHAL1. CAPITAL PARTNERS LLP, ET
AL.,
                                                  24-cv-3453 (JGK)
                            Plaintiffs,
                                                  ORDER
            -lu
                  against

JOSH WANDER, ET AL. r

                            Defendants.

JOHN G. KOELTL, District Judge:

       Upon the complaint by Plaintiffs Leadenhall Capital Partners

LLP and Leadenhall Life Insurance Linked Investments Fund PLC

(together, "Leadenhall") ; the accompanying declarations of Craig

Gillespie, Phil Kane, Luca Albertini, and Leigh m. Nathanson; and

the Memorandum of Law in Support of Plaintiffs' Application for a

(i) Temporary Restraining Order, and (ii) a Receivership or,

Alternatively, a Preliminary Injunction, it is ordered, that

Defendants 777 Partners LLC, 600 Partners LLC, SPLCSS III LLC,

Dorchester Receivables II LLC, Signal SML 4 LLC, and Insurety

Agency Services LLC (together, the "Borrowers and Guarantors") are

hereby subject to the following preliminary injunction:

       Pursuant to Federal Rule of Civil Procedure 65, and based on

the findings of f act and conclusions of law stated on the record

on June 7, 2024, ECE' No. 128, the Court finds that the Temporary

Restraining Order previously entered, ECF no. 114, should be

issued as a preliminary injunction. The Court enters a preliminary
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                                    SPA-2


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injunctiorl that, other than in the normal and ordinary course of

business :

     (A) prohibits selling, transferring, converting, pledging, or

encumbering the assets pledged as collateral by the Borrowers to

Leadenhall under the Loan and Security Agreement dated May 7,

2021;

        (B) to the extent the value of the assets pledged as

collateral by the Borrowers to Leadenhall is less than the full

amount of the Accelerated Debt, prohibits the expenditure or

dissipation of any cash or cash equivalents owned by the Borrowers

and Guarantors sufficient to cover the full amount of the

Accelerated Debt;

        (C) to the extent the value of (i) the assets pledged as

collateral by the Borrowers, plus (ii) the value of any cash or

cash equivalents owned by the Borrowers and Guarantors is

insufficient to cover the full amount of the Accelerated Debt,

prohibits the expenditure or dissipation by the Borrowers and

Guarantors of any cash or cash equivalents received from any sale

or transaction up to the full amount of the Accelerated Debt;

        (D) prohibits the Borrowers and Guarantors from taking any

action to dissipate the value of their assets, including by

transferring assets to any Defendant;

        (E) requires the Borrowers and Guarantors to provide notice

to Leadenhall, ING Capital LLC, National Founders LP, Haymarket


                                        2
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                                     SPA-3


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Insurance Company, and ACM Delegate LLC of any attempt by any

Defendant to foreclose on, repossess, or exercise remedial actions

against the assets of the Borrowers and Guarantors and/or prevent

any Defendant from foreclosing on, repossessing, or exercising

remedial actions against the assets of the Borrowers and

Guarantors.

SO ORDERED   n



                                             /",..- -_
Dated :      New York, New York             ,f

             July 8I 2 0 2 4                        /
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                                                   John G. Koeltl
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                                                     \._

                                            United States District Judge




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

LEADENHALL CAPITAL PARTNERS LLP, ET
AL.,                                                 24-cv-3453 (JGK)
                    Plaintiffs,
                                                     0RQFP:
               against

JOSH WANDER, ET AL. r
                     Defendants.

JOHN G. KOELTL, District Judge:

     For the reasons stated on the record today, Defendant

Advantage Capital Holdings LLC's motion to modify the

preliminary injunction pursuant to Rule 59(e) is denied. The

Clerk is respectfully directed to close ECE' NO. 152


SO ORDERED •
Dated:     New York, New York
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           October 2, 2024                                  /
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                                          "1

                                                 \,\ John G. Koeltl .
                                           United States District Judge
